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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                     CRIMINAL MINUTES – GENERAL


Case No.        LA CR 13-00106-DOC                                                           Date:    June 29, 2022


Present: The Honorable:     DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

Interpreter       n/a
                 Karlen Dubon                Debbie Gale and Sharon Seffens                          Steven R. Welk
                  Deputy Clerk                      Court Reporter / Recorder                     Assistant U.S. Attorney


  U.S.A. v. Defendant(s)          Present Cust    Bond                Attorneys for Defendants:              Present    App   Ret

  Mongol Nation, an                 X                                 Andrea Xuanlan Ales                       X             X
  Unincorporated Association                                          Joseph A. Yanny                           X             X


PROCEEDINGS:               MOTION FOR NEW TRIAL, MOTION TO DISMISS CASE;
                           OR OTHER APPROPRIATE RELIEF [535] (EVIDENTIARY)

         Case is called. The Court hears oral arguments.

         The Court hears testimony from witnesses David San Tillan and Special Agent John Ciccone.

         Portions and protected information of witness testimony is order under seal on the transcripts.

         The Court admits exhibits 10 and 11.

         Motion hearing is continued to July 22, 2022 at 7:30 AM.




cc: USPPO


                                                                                                                     3:48
                                                                         Initials of Deputy Clerk           kdu




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